O PS 8
          Case 2:19-cr-00049-RMP             ECF No. 50       filed 11/22/19      PageID.157 Page 1 of 2
(3/15)
                                                                                                            FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                              UNITED STATES DISTRICT COURT                                        EASTERN DISTRICT OF WASHINGTON



                                                             for                                   Nov 22, 2019
                                                                                                       SEAN F. MCAVOY, CLERK
                                            Eastern District of Washington


U.S.A. vs.                      Ledford, Jaydin                          Docket No.         0980 2:19CR00049-RMP-1


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Jonathan C. Bot, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Jaydin Ledford, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John
T. Rodgers sitting in the court at Spokane, Washington, on April 15, 2019, under the following conditions:

Condition 31: Defendant is not to access the Internet in any form.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: On November 5, 2019, Mr. Ledford informed a U.S. probation officer that he obtained a smart phone which
could access the Internet. The U.S. probation officer reviewed and informed Mr. Ledford that his release conditions,
specifically number 31, prohibit him from accessing the Internet in any manner, and that he should return the phone. Mr.
Ledford acknowledged an understanding and stated he would return the phone.

On November 19, 2019, the undersigned officer and another U.S. probation officer contacted Mr. Ledford at his residence.
On that date, it was ascertained that Mr. Ledford was still in possession of the aforementioned smart phone and that he
admitted to accessing the Internet on this device on multiple occasions, which is a direct violation of condition number 31.

On April 17, 2019, the conditions of pretrial release supervision were reviewed with Mr. Ledford. He acknowledged an
understanding of his conditions, which included release condition number 31.

                             PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:        November 21, 2019
                                                                   by     s/Jonathan C. Bot
                                                                          Jonathan C. Bot
                                                                          U.S. Pretrial Services Officer
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THE COURT ORDERS

[ X]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer

                                                                         November 22, 2019
                                                                      Date
